Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 1 of 6. PageID #: 390206




                EXHIBIT 62
        Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 2 of 6. PageID #: 390207


         Morgan, Lewis & Bockius LLP
         1111 Pennsylvania Avenu e, NW
         Washington, DC 20004
                                                                                  Morgan Lewis
                                                                                   C O U !'ISEL O RS   AT   LAW
         Tel: 202.739.3000
         Fax: 202. 739.3001
         www.morganlewis.com




          Mark E. Matthews
         Partner
         202 .739.5655
         mark .matthews@morganlewis.com




          May 25. 2007

          VIA FACSIMILE

          Honorable Karen Tandy
          Administrator
          Drug Enforcement Administration
          600 Am1y Navy Drive
          Arlington, VA 22202
                                I'
                                i :·
          Dear Administrat91t\1''nay'._..

          Thank you so much for taking my te lephone call yesterday. I have attached a copy of the letter I
          referred to in our conversation from John Chou. the General Counsel at AmerisourceBergen. As
          his letter indicates, notwithstanding what they believe is a stellar track record of cooperation with
          DEA anti-divers ion programs (including development of control systems and substantial training
          and investigative cooperation). AmerisourceBergen received an Order to Show· Cause and
          immediate license suspension of one of its distribution centers without any warning. This Order
          came despite prompt action by AmerisourceBergen to suspend shipments to a ll four phamrncies
          at issue. Perhaps most alarming to AmerisourceBergen at this point, however, is the apparent
          unwillingness of DEA to engage in further discussions seeking a resolution of the matter. It does
          not seem to be appropriate treatment of a compli ant company with AmerisourceBergen 's history
          of cooperation with DEA. Anything you can do to put discussions back on track would be most
          appreciated. Thank you very much for your attention to thi s matter.

          Si ncerely ,


                1 i.
                J      • .

            i
            ~· ~--   ..;....

          i\fork E. :\latthews
          l\.1 Eivl /l rnt




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  ABDCMDL00398309
        Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 3 of 6. PageID #: 390208

                                                                                John G. Chou




               ~                                                                /\n1e r·i:-:.OLI rce Be r·c~ en (__ orpor· ,1 tic ·1r1
                                                                                130C                 Drive
        AmerisourceBergen                                                         ncskr llror ik,             1gog I

                                                                                li 1'J 17 i 7/, ',g f-'' one
                                                            May 25. 2007        610./2/.3612 fax



         VIA FACSIMILE

         Honorable Karen Tandy
         Administrator
         Drug Enforcement Administration
         600.Anny Navy Drive
         Arlington, VA 22202

                Re:     Amerisourcc_f.3c_i:gc_n Drug Corporation RA 0210409

         Dear Administrator Tandy:

                 On April 24, 2007. Drug Enforcement Administration ("DEA") agents served
         AmerisourceBergen Drug Corporation ("AmerisourceBergen" or the ''Company") with an Order
         to Show Cause and Immediate Suspension of Registration ("Order to Show Cause") or the
         Company's distribution center located in Orlando, Florida. Since service of the Order to ShO\v
         Cause. AmerisourceBergen has attempted to work closely \Yith attorneys in DEA's Office or
         Chief Counsel in an effort to promptly and fully resolve all outstanding issues raised by the
         Order to Show Cause. We believe that AmerisourceBergen has successfully addressed all
         operational issues raised in the Order. Unfortunately, dialogue on our attempt to reopen our
         distribution center, even on an interim basis and even though DEA 's operational concerns ha\·c
         been satisfied. has essentially stopped. We are very concerned about what has happened here
         and hope that you will help move this process forward quickly.


                  By way ofbackgrouml, AmerisourceBergen has always believed that it has had a very
          good working relationship with the DEA on several levels. We have always been ad\'iscd that
          \\C arc considered a compliant company with an exemplary track record with DEA and believe

          that senior DEA officials and lawyers would agree, if asked. As one of the top three
          phanrn1ccutical distributors in the world, the Company has taken its obligations under the
          Contrullcd Substances Act and corresponding DEA regulations very serious]). We believe that
          WC have been a leader in the development and maintenance or diversion compliance programs.
          For example. in the rnid- I 990s, AmerisourceBergen developed a suspicious order monitoring
          program in conjunction with the DEA . and implemented it with the approval or the Dl'.A. The
          DEA explicitly noted its appreciation for the efforts that AmerisourceBergen had undertaken to
          develop the program. Furthermore, staiiing in 2002, AmerisourceBergen participated in the
          industry task force that developed the Controlled Substance Ordering System sothvarc to support
          new OFA regulations_


                Over the years. AmerisourceBergen grew its relationship with DEA and assisted in many
          DEA investigations of specific customers (receiving a DEA Certificate of Appreciation in one




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                ABDCMDL00398310
        Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 4 of 6. PageID #: 390209

        Honorable Karen Tandy
        Drug Enforcement Administration
        May 25, 2007
        Page 2



        such investigati on ). From 1999 through 2005, the Company also assisted DEA on multiple
        occasions in training DEA Di\·ersion Investigators . AmerisourceBergen provided access to its
        distribution facilities and presented educational programs. In October 2004, the DEA awarded
        the Company a Certifi cate of Appreciation in recognition of its contributi on to drug enforcement
        efforts and to DEA' s training program . Further, Ameri sourceBergen annual ly hosts DEA
        trai nets from Quantico at its Richmond, Virginia faci lity to assist in the DEA agents' training.
        The Company also regularly invites senior DEA enforc ement officers to conduct compliance
        training for the company's distribution center employees, includ ing its Orlando distribution
        center.


                In 2005, th e Company collaborated with DEA to develop additional processes and
        controls to help identify potentially suspicious internet phannacy orders. Steve Mays,
        AmerisourccBergen 's Director of Corporate Security & Regul atory Affairs, worked with DEA
        enforcement directors to develop and implement "best practices" for vo lume distrib utors of
        pham1accuti cals and controlled substances. By late 2005, AmerisourceBergen implemented a
        new policy and procedures that included requiring customers to fill out DEA-approved fonn s
        attesting to the nature of their sales. As with its earlier policy, the Company sought and obtained
        DEA guidance for this program. The Company also conducted, on its own, more than one
        hundred investigations in the 18 months leading up to the issuance of the Order to Sho\v Cause


                As the above demonstrates, AmerisourceBergen was proud o f its relationship with DEA
        and its efforts to be an industry leader in tem1 s of div ersion compliance programs. Up until April
        24, 2007, the Company had no reason to believe that it had at all conducted itself in ways that
        \Vere inconsistent with the Statute, the regulations or with DEA direction . And the Company
        received no indi cation from the DEA to the contrary. Thus, the Order to Show Cause on April
        24 came as a co mplete surprise. Furthe1111ore, nothin g in the Order to Show Cause seemed to
        justify such draconian action by the DEA, especially in light of the hi story described above and
        the lack of any previous warnings: Of the four pharmacies mentioned, Ameri sourceBergen had
        ceased sales to three of the pha1111acies months before the Order to Sho\\. Cause was iss ued.
        AmerisourceBergen ceased sales to one pharmacy without any noti ce from DEA ; ceased sales to
        the second pharmacy after im·cstigatin g them based on a tip from DEA; and ceased sales to the
        third pharmac y at the same time that DEA suspended that phannacy's registration.
         J\mcrisourceBergcn had previously investigated th e fourth pharm acy and req uired it lo sign a
         DEA approved " Internet I Mail Order Compliance Agreement."' Am ensourceBergen ceased
        sales to this customer when served with the Order to Show Cause. To our know ledge, that
        phannacy still has a valid DEA registration to dispense controlled substances .


              Immediatel y after th e Order to Show Cause, the Agency appeared willing to address the
         Company's concerns. For example, th e Agenc y set up an April 25 111 Washington meeting with
         Company and Agency o fficial s on JUSt twenty- four hours noti ce. During that me;eting, th e pa1iies




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                ABDCMDL00398311
        Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 5 of 6. PageID #: 390210

        I !onorable Karen Tandy
        Drug Enforcement Administration
        l\lay 25, 2007
        Page 3



        pledged to work together to resolve all of the issues raised in the Order To Show Cause; just
        three clays after the service of the Order to Show Cause, on April 27, 2007, the parties were able
        to agree to an interim Order of Special Dispensation and Agreement Between the Drug
        Enforcement Administration and AmerisourceBergen Drug Corporation ("the Interim
        Agreement"). One of the mutual obligations contained in that Interim Agreement reyuired the
        DEA and AmerisourceBergen to "continue negotiating in good faith in an attempt to reach a
        settlement of the pending administrative matter prior to the administrative hearing that
        commences June 4, 2007."


                  AmerisourceBergen has continued to \Vork in good faith with DEA counsel, especially
         regarding the DEA 's concern about the Company's maintenance of effective controls against
         diversion of particular controlled substances, principally hydrocodone and substances containing
         hydrocodone. AmerisourceBergen also has implemented additional compliance measures and
         111stitutcd additional controls, in consultation with DEA, to identify "suspicious" pharmaceutical
         orders as that tern1 is used in 21 C.F.R. § 1301. 74(b ), as a result of their size, pattern of purchase,
         and unusual frequency. AmerisourceBergen has supplemented its compliance efforts throughout
         its nationwide distribution network, and has also offered to set the compliance standard for the
         rest of the 800-plus distributors which DEA regulates throughout the Lnited States.


                 We have received every indication from the DEA that we have resolved all the
         operational issues raised in the Order to Show Cause. Thus, there is no reason to continue the
         suspension, which works a grave hardship on the Company. We further believe that
         AmerisourceBergen 's competitors have capitalized on the DEA 's immediate suspension of the
         Orlando Distribution Center's registration to assume servicing the Company's existing
         customers. We doubt this was the DEA's intended consequence resulting from its Order to
         Show Cause. AmL because the Orlando Distribution Facility has instituted additional
         compliance measures to prevent diversion, there is no further public interest served in preventing
         the opening of the facility.


                 Nevertheless, for over a week, DEA has appeared unwilling to address
         AmerisourceBergen 's legitimate desire to lift the suspension of registration for the Orlando
         distribution center even on an interim basis. We do not know why, but must emphasize that
         time is of the essence for us commercially and operationally.


                 AmerisourccBergen's goal is to continue to build a productive, cooperative relationship
         with DEA to meet the ongoing challenge of preventing and detecting unlawful di version,
         especially by ''rogue" internet pharmacies. Working together, we can achieve the goal of
         effectively fighting diversion, which, we submit, DEA cannot achieve working alone. Given that




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                     ABDCMDL00398312
        Case: 1:17-md-02804-DAP Doc #: 2379-12 Filed: 08/14/19 6 of 6. PageID #: 390211

         I !onorahle Karen Tandy
         Drug Fnforcement Administution
         I\1ay 25. 2007
         Page -l



         AmerisourceBe rgen has reso h ed the operatil\nal issues. the re is no rea son to continue the
         suspens ion.


                 For thi s reason. the Compa ny has this \Wek tiled a letter \\ith the Office of the
         AdministratiYe La\\ Judge requesting a fom1al hearing pursuan t to 21 U.S.C. ~ 1301.43 el SClf .. tu
         pursue its administrati\·e remedies. The Company docs not \\i sh to litigate thi s matter. Instead.
         it would like to continue to bu ild on \\hut we believe \Vas an already \ cry good relationship and
         re sohe the remaining issues. i\merisl1urceBcrgen is a complia nt company with DEA-approved
         measures to pren:nt diversion. lt should he treate d as suc h by the DE.\.


                  We respectfully reque st that DEA resume settlement rn:gotiations to achie\·e thl'. goal of
         lifting the suspension on.lcr of the Orlando Distribution Facili1y·s regi stration und er
         circumstancl'.s accep table to DE:\ and allow the company to resume its operation there. \Ve
         would appreciate the opportuni ty for a fac e to face meeting \Yith appropriate DL\ offic ials tu
         rcsohe this matter quickly.


                 I appreciate your attention to this mattt.:r.




         cc: Wendy II. Cioggin. Esq.
             Chief Counsel




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                 ABDCMDL00398313
